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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF NEW YORK



                                         )
CAYUGA NATION                            )
AND JOHN DOES 1-20,                      )
                                         )
            Plaintiffs,                  )
                                         )
            v.                           )                         5:14-CV-1317[DNH/ATB]
                                                             No.: _______
                                         )
HOWARD TANNER, VILLAGE                   )
OF UNION SPRINGS CODE ENFORCEMENT )
OFFICER, IN HIS OFFICIAL CAPACITY;       )
EDWARD TRUFANT, VILLAGE OF UNION )
SPRINGS MAYOR, IN HIS OFFICIAL           )
CAPACITY; CHAD HAYDEN, VILLAGE OF )
UNION SPRINGS ATTORNEY, IN HIS           )
OFFICIAL CAPACITY; BOARD OF              )
TRUSTEES OF THE VILLAGE OF UNION         )
SPRINGS, NEW YORK; AND THE VILLAGE )
OF UNION SPRINGS, NEW YORK               )
                                         )
            Defendants.                  )
________________________________________ )

          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

          1.   This is an action by the Cayuga Nation (“the Nation”) and unnamed

Nation officers, employees, and representatives against the Village of Union Springs and

certain of its officials to prevent their interference with the Nation’s federally protected

rights.

          2.   To promote tribal economic development, the Indian Gaming Regulatory

Act (“IGRA”) gives the Nation the right to conduct certain gaming activities on its

reservation lands free of interference from state or local authorities, and sets up a

comprehensive scheme of federal and tribal regulation of those activities. IGRA also
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prohibits state and local officials from bringing criminal enforcement actions under state

or local gambling laws in “Indian country” – a statutorily defined term that includes the

Nation’s federally recognized reservation land – even with respect to Indian gambling

activities that are not authorized by IGRA. The Nation, for its part, has fully complied

with the requirements of IGRA and the regulations of the National Indian Gaming

Commission (“NIGC”).        In spite of this, the Village of Union Springs has issued

multiple “Orders to Remedy Violations” and has threatened legal action, including

criminal proceedings, if the Nation does not come into compliance with a 1958 Village

anti-gambling ordinance that IGRA plainly preempts. To prevent these unlawful actions,

the Nation seeks declaratory and injunctive relief, including a temporary restraining order

and a preliminary injunction.

                            JURISDICTION AND VENUE

       3.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1362.

       4.      Venue is proper under 28 U.S.C. § 1391(b)(1) because all defendants

reside in this district and in New York State. Venue is also proper under 28 U.S.C.

§ 1391(b)(2) because a substantial part of the events giving rise to the claim occurred in

this district (namely, in the Village of Union Springs, where Lakeside Entertainment is

located).

                                FACTUAL BACKGROUND

The Parties

       5.      Plaintiff Cayuga Nation (“Nation”) is a federally recognized Indian tribe.

See 77 Fed. Reg. 47,868 (Aug. 10, 2012). The federal government recognizes the Nation

as the same entity with which it entered the Treaty of Canandaigua in 1794 (7 Stat. 44).
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        6.      Plaintiffs John Does 1 through 20 are unknown officers, employees,

and/or representatives of the Nation who are at risk of criminal or civil penalties for

conduct relating to the operation of the Lakeside Entertainment gaming facility at 271

Cayuga Street, Union Springs, New York.

        7.      Defendant Edward Trufant is the Mayor of the Village of Union Springs

and is sued in his official capacity.

        8.      Defendant Howard Tanner is the Code Enforcement Officer of the Village

of Union Springs and is sued in his official capacity.

        9.      Defendant Chad Hayden is the Village Attorney of the Village of Union

Springs and is sued in his official capacity.

        10.     Defendant Board of Trustees of the Village of Union Springs is the

governing body of the Village of Union Springs.

        11.     Defendant Village of Union Springs is a municipal corporation chartered

under the laws of New York State.

        12.     All of the Defendants’ conduct described in this complaint has been

undertaken, or will be undertaken, under color of state law.

The Indian Gaming Regulatory Act

        13.     In furtherance of the federal policy of Indian economic self-sufficiency,

Congress enacted IGRA in 1988 to explicitly allow, and to provide a comprehensive

scheme for the regulation of, certain Indian gaming activities. 25 U.S.C. §§ 2701-02.

        14.     The provisions of IGRA preempt any contrary state or local law. Thus, if

gaming is permitted by IGRA, a state or local law may not punish or restrict it. See, e.g.,

Sycuan Band of Mission Indians v. Roache, 54 F.3d 535, 539-40 (9th Cir. 1994).

        15.     IGRA divides Indian gaming into three categories.
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       16.    Class I gaming consists of traditional and social games played for no

significant financial stakes. 25 U.S.C. § 2703(6). Indian nations maintain exclusive

control over Class I gaming. Id. § 2710(a)(1).

       17.    Class II gaming includes “the game of chance commonly known as bingo

(whether or not electronic, computer, or other technologic aids are used in connection

therewith)” and similar games if played in the same location. Id. § 2703(7)(A)(i). Class

II gaming is regulated by Indian nations pursuant to tribal ordinances approved by the

National Indian Gaming Commission (“NIGC”), an independent federal regulatory

commission located within the Department of the Interior. Id. §§ 2704, 2710(a)(2), (b).

       18.    Class III is a residual category, consisting of any games not included in

Classes I and II. Class III gaming includes casino-style games, slot machines, and

lotteries, 25 U.S.C. § 2703(8), and must be conducted in conformance with a “Tribal-

State compact entered into by the Indian tribe and the State.” 25 U.S.C. § 2710(d)(1)(C).

       19.    Only Class II gaming is at issue in this case. IGRA permits Indian nations

to engage in Class II gaming on “Indian lands within such tribe’s jurisdiction” if the

“gaming is located within a State that permits such gaming for any purpose by any

person,” and “the governing body of the Indian tribe adopts an ordinance or resolution”

that is approved by the Chairman of the NIGC. 25 U.S.C. § 2710(b).

       20.    In addition to preempting state and local laws prohibiting Class II gaming,

IGRA also bars state and local officials from bringing criminal proceedings under state or

local gambling laws in Indian country, even with respect to Indian gambling activities

that are not authorized by IGRA. Instead, IGRA vests the United States with “exclusive

jurisdiction” over “criminal prosecutions” under “State gambling laws that are made
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applicable under this section to Indian country.” 25 U.S.C. § 1166(d). That section

covers “all State laws pertaining to the licensing, regulation, or prohibition of gambling,”

id. § 1166(a), thus allowing the federal government (and only the federal government) to

prosecute violations of state gambling laws, except that even the federal government may

not prosecute violations of state gambling laws where IGRA authorizes Indian gaming,

id. § 1166(c).

The Nation’s Operation of Lakeside Entertainment

        21.      Pursuant to IGRA’s regulatory scheme, in 2004 the Nation opened a

business known as Lakeside Entertainment, sometimes referred to as a “bingo hall.”

Lakeside Entertainment is located at 271 Cayuga Street, Union Springs, New York,

within the boundaries of the Nation’s historic reservation. The Nation temporarily closed

Lakeside Entertainment in October 2005. The Nation reopened Lakeside Entertainment

in the same location on July 3, 2013.

        22.      The gaming taking place at Lakeside Entertainment consists of bingo,

conducted with the technological aid of machines. IGRA classifies this form of gaming

as Class II. 25 U.S.C. § 2703(7)(A)(i).

        23.      The gaming activities taking place at Lakeside Entertainment are ones that

New York State permits for at least some classes of persons. See N.Y. Const. Art. I, §

9(2) (“any city, town or village within the state may . . . authorize, subject to state

legislative supervision and control, the conduct of . . . games of chance commonly known

as . . . bingo or lotto [by] . . . bona fide religious, charitable or non-profit organizations of

veterans, volunteer firefighter and similar non-profit organizations…”).

        24.      The Nation also is in compliance with the statutory requirement that it
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adopt, and receive NIGC approval of, a Class II gaming ordinance. On November 12,

2003, the Nation’s Council adopted a Class II gaming ordinance, and on November 18,

2003, NIGC approved the ordinance. The ordinance remains in effect, as does NIGC’s

approval.

       25.      Lakeside Entertainment satisfies IGRA’s requirement that the Nation’s

Class II gaming occur on “Indian lands within such tribe’s jurisdiction.” 25 U.S.C.

§ 2710(b).

             a. With respect to the “Indian lands” requirement, IGRA defines this term to

                include “all lands within the limits of any Indian reservation.” 25 U.S.C. §

                2703(4)(A); see 25 C.F.R. § 502.12.            The land on which Lakeside

                Entertainment is located is within the limits of the Cayuga Nation’s

                reservation, which continues to exist as a matter of federal law. Indeed,

                the New York Court of Appeals – as well as “every federal court” to

                consider the question – has held that the Nation’s reservation in New York

                State continues to exist. Cayuga Indian Nation of New York v. Gould, 930

                N.E.2d 233, 247 (N.Y. 2010), cert. denied, 131 S. Ct. 353 (2010)

                (collecting authority).

             b. The lands in question also satisfy the requirement that they be “within

                such tribe’s [i.e., the Nation’s] jurisdiction,” 25 U.S.C. § 2710(b). NIGC

                has repeatedly made clear that this phrase requires only that an Indian

                nation’s gaming occur within the boundaries of its own territory, rather

                than the territory of another Indian nation.

       26.      When Lakeside Entertainment was open in 2004 and 2005, NIGC
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conducted regulatory oversight of the Nation’s gaming activities there.

       27.      In 2013, in the hope of furthering the Nation’s economic development, the

Nation’s Council authorized the reopening of Lakeside Entertainment.

       28.      In compliance with NIGC regulations, the Nation renewed the facility

license for Lakeside Enterprises, and on May 8, 2013, the Nation provided NIGC with

notice of that renewal.        At the same time, the Nation submitted the required

environmental, public health, and safety attestation for that facility. See 25 C.F.R.

§§ 559.3, 559.4.

       29.      The Nation has similarly complied with IGRA and NIGC regulations

regarding the licensing of “primary management officials” and “key employees.” See 25

U.S.C. § 2710 (b)(2)(F).

             a. On May 21, 2013, the Nation submitted to the NIGC background check

                materials, including fingerprints, for personnel whom the NIGC’s

                regulations require to be licensed. See 25 C.F.R. §§ 556.4, 522.2(h).

             b. NIGC, in turn, assisted in processing those fingerprints and provided the

                resulting Criminal History Record Information (CHRI) to the Nation.

             c. On review of the CHRI, the Nation: (i) determined that the individuals

                were eligible to be licensed; and (ii) informed NIGC of its actions, as

                required by the agency’s regulations. See 25 C.F.R. Parts 556, 558.

             d. As part of this process, NIGC approved the Nation’s request for access to

                its secure, restricted Tribal Access Portal (https://tap.nigc.gov).

             e. On July 17, 2013, NIGC stated that it had no objection to the issuance of

                gaming licenses to the personnel whose information the Nation submitted
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                 on May 21.

              f. On July 23, 2013, the Nation submitted to NIGC information for four

                 additional employees who require licenses.

              g. Following the same procedures outlined above, the NIGC processed this

                 information and returned the CHRI to the Nation, which determined that

                 each of those four individuals were eligible for a gaming license, and so

                 notified the NIGC.

              h. On August 29, 2013, NIGC responded that it had no objection to the

                 licensing of three of the individuals.

              i. After discussions with the Nation, on September 6, 2013, NIGC informed

                 the Nation that it had no objection to the licensing of the fourth individual.

              j. Since then, the Nation and NIGC have followed similar procedures with

                 respect to the licensing of numerous other individuals.

        30.      The Nation resumed gaming operations at Lakeside Entertainment on July

3, 2013. Upon reopening, the Nation initially offered only paper bingo and pull-tabs at

the facility.

        31.      Prior to its reopening of Lakeside Entertainment, the Nation took steps to

comply with all local zoning requirements. In particular, in 2010, the Nation received a

detailed architect’s report stating that its use of Lakeside Entertainment for Class II

gaming would comply with state and local zoning, land use, and building laws and codes,

including the Village of Union Springs Zoning Ordinance.

        32.      Consistent with the Nation’s desire to act openly and in compliance with

all applicable laws and regulations, the Nation’s counsel informed various State and local
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officials by letter that it was reopening Lakeside Entertainment. A true and correct copy

of that letter is attached to this complaint as Exhibit A.

        33.       Nation counsel’s letter noted, among other things, that the Nation had

received a formal legal opinion from the law firm of Dorsey & Whitney, LLP, confirming

the legality of the Nation’s reopening of Lakeside Entertainment. The letter offered to

make the Dorsey & Whitney legal opinion available upon request, and twice urged law

enforcement to contact Nation counsel should they have any concerns about the Nation’s

activities.

The Village of Union Springs’ Efforts to Prevent the Nation from Gaming

        34.       On July 3, 2013, Defendant Howard Tanner, the Code Enforcement

Officer for the Village of Union Springs, visited the Lakeside Entertainment facility and

expressed concern about whether the Nation’s conduct of Class II gaming activities was

permissible under local law. At that time, Mr. Tanner also stated that the Nation would

need a Certificate of Occupancy for the facility. Nation counsel provided Mr. Tanner

with copies of the letter described in paragraph 33 above and with the Dorsey & Whitney

opinion letter.

        35.       On July 8, 2013, the Village of Union Springs Board of Trustees met in

executive session. At that meeting, the Board determined that it would enforce a 1958

Village anti-gambling ordinance against the Nation. A true and correct copy of that

ordinance is attached to this complaint as Exhibit B.

        36.       On July 9, 2013, the Nation was served with an Order to Remedy

Violations, which cited the Nation for “operating Bingo without a license Issued [sic] by

the Village of Union Springs” in violation of “Games of chance ordinance dated May 19,
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1958,” as well as unspecified portions of the Union Springs Zoning Ordinance. On

information and belief, the Order to Remedy Violations was signed by Defendant Tanner.

The Order stated: “YOU ARE THEREFORE DIRECTED AND ORDERED to comply

with the law and to remedy the conditions above mentioned forewith [sic] no later than

the 26th day of July 2013.” The Order continued: “Failure to remedy the conditions

aforesaid with notice in writing of compliance to the Village of Union Springs, Factory

St., Union Springs, NY 13160, and to comply with the applicable provisions of law may

constitute an offense punishable by fine or imprisonment or both.        PURSUANT to

section 268 of the Village Law of the State of New York, the Village of Union Springs

also may seek injunctive relief in the New York Supreme Court.”       A true and correct

copy of the Order to Remedy Violations is attached to this complaint as Exhibit C.

       37.    On July 23, 2013, Nation counsel wrote to Defendant Village Attorney

Chad Hayden to address the Order to Remedy Violations. Counsel explained that the

Nation’s gaming activities were lawful under IGRA, which preempts any state or local

regulation of Indian gaming.

       38.    On August 8, 2013, Betty Jane Radford, the Manager of Lakeside

Entertainment, wrote to Mr. Tanner, enclosing a completed application for a Certificate

of Occupancy. Ms. Radford explained that because Lakeside Entertainment is located on

the Nation’s federally recognized reservation, the Nation did not believe that it was

subject to the laws of other governments.      Ms. Radford further explained that the

structure in question complies with the Cayuga Nation’s own health and safety ordinance,

which incorporates the requirements of the International Building Code, which in turn are

at least as stringent as the state and local codes that govern in Union Springs. Ms.
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Radford also noted, with respect to the State and local building code, that “a professional

architect retained by the Nation recently determined that the Lakeside Entertainment

facility is code-compliant in all respects.”     Ms. Radford concluded that “the Nation

always stands ready to work cooperatively with County and town officials on a

government-to-government basis”; for that reason, and “without waiving any of the

Nation’s rights,” Ms. Radford enclosed a completed application for a Certificate of

Occupancy.

       39.     Defendant Tanner did not grant the Certificate of Occupancy. Instead,

Defendant Tanner requested additional information, including costly construction

documents and site plans.

       40.     Even though the Nation already believed itself to be in full compliance

with all applicable local regulations, the Nation worked diligently to comply with

Defendant Tanner’s requests. In particular, the Nation retained an architect to complete

another full code compliance review. On December 19, 2013, the Nation provided the

results of that review to Defendant Tanner.

       41.     Also on December 19, 2013, the Nation added 86 electronic bingo

machines to Lakeside Entertainment. These machines constitute Class II gaming under

IGRA, and thus do not alter the legal status of the gaming taking place at the facility.

       42.     Once again, consistent with the Nation’s desire to act openly and to work

with local authorities, on December 19, 2013, the Nation’s counsel informed various

State and local officials (including Defendant Tanner) about the addition of the electronic

gaming machines. The Nation further highlighted that the plain text of IGRA, as well as

clearly established case law from the Second Circuit applying IGRA, bars state and local
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officials from bringing criminal proceedings for violations of state and local gambling

laws in Indian country.    True and correct copies of those letters are attached to this

complaint as Exhibit D.

       43.    In a newspaper article published on December 20, 2013, Village Attorney

Hayden was reported as saying that Village would move to shut down the gaming hall

and seize the electronic bingo machines.       “Initially, we’ll send them a notice of

violation,” the article quoted Hayden as saying. “That will give them a reasonable time

to comply and then we’ll proceed to court.” A copy of that article is attached to this

complaint as Exhibit E.

       44.    On December 23, 2013, the Nation was served with two further Orders to

Remedy Violations, which were dated December 20, 2013.            One order stated that

“operating games of chance is not permitted in the Village of Union Springs,” again

citing the “Games of chance ordinance dated May 19, 1958,” as well as unspecified

portions of the Union Springs Zoning Ordinance. The second order claimed a violation

of Section 1202.3 of Title 19 of the New York Code of Rules and Regulations, which

provides that “[n]o change shall be made in the nature of an existing building unless a

certificate of occupancy authorizing the change has been issued. The owner or occupant

of such building must demonstrate that such change will conform with all applicable

provisions of the Uniform Code before a certificate of occupancy will be issued.” Both

orders required the Nation to comply “no later than the 28th day of December, 2013,”

and both orders again stated that failure to remedy “may constitute an offense punishable

by fine or imprisonment or both,” and that the Village “also may seek injunctive relief in

the New York Supreme Court.”         On information and belief, the Orders to Remedy
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Violations were signed by Defendant Tanner. True and correct copies of the Orders to

Remedy Violations are attached to this complaint as Exhibit F.

       45.     Because the Nation had duly applied for a certificate of occupancy and

provided Defendant Tanner with documentation that Lakeside Entertainment complied

with all applicable code requirements, the Nation sent Defendant Tanner a letter inquiring

whether he asserted any justification other than 1958 “Games of Chance” Ordinance for

his refusal to issue a certificate of occupancy. Defendant Tanner did not respond. On

information and belief, the sole reason that Defendant Tanner has refused to issue a

certificate of occupancy is the Nation’s non-compliance with the 1958 “Games of

Chance” Ordinance.

       46.     To forestall the imminent violation of its federally protected rights that the

Village’s actions threatened, the Nation on December 27, 2013, informed Village

officials that it would seek a temporary restraining order, as well as preliminary and

permanent injunctive relief.

       47.     Subsequently, on December 30, 2014, the Village and the Nation entered a

Standstill Agreement, which provided that the Village would take no action against

Lakeside Entertainment without providing 48 hours notice, and that the Nation would not

change the nature of the gaming offered at the facility. The agreement was effective until

April 30, 2014, and was subsequently extended for one month.

       48.     Since then, the Nation has continued to operate Lakeside Entertainment in

compliance with the Standstill Agreement and all applicable laws.
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       49.     On February 21, 2014, Defendant Tanner again inspected the facility,

identifying three minor building-code issues he wished to see addressed, including

confirmation of Lakeside Entertainment’s most recent fire alarm test.

       50.     The Nation resolved the issues identified by Defendant Tanner in his

February 21 visit. When Defendant Tanner returned on March 7, he said that he would

issue a Certificate of Occupancy the following week.

       51.     Defendant Tanner did not issue the Certificate of Occupancy. Instead, on

March 24, Defendant Tanner sent a letter reiterating his contention that Lakeside

Entertainment violated the Zoning Law and the 1958 Ordinance, “which prohibits bingo

in the Village.”   He further stated that “[u]ntil this matter is resolved I cannot grant a

certificate of occupancy.” The letter gave the Nation 10 days to commence permit

applications to the zoning board of appeals and the Village Board, and it identified no

basis for requiring such applications other than the Village’s plainly preempted

ordinances. A true and correct copy of Defendant Tanner’s letter is attached to this

complaint as Exhibit G.

       52.     As of the date of the filing of this complaint, the Nation has continued to

conduct its Class II gaming activities at Lakeside Entertainment, and the Village of Union

Springs has refused to issue a Certificate of Occupancy for the facility.

       53.     Although the Standstill Agreement was extended until May 30, 2014, it

expired as of that date. On October 27, 2014, outside counsel for the Village advised

counsel for the Nation that the Village intends to proceed with enforcement action against

the Lakeside Entertainment facility.
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        54.      Neither Defendant Tanner nor any other Union Springs official has

withdrawn the Village’s threats to seek criminal penalties in connection with the

Lakeside Entertainment facility.

                                      COUNT ONE
                                  (IGRA PREEMPTION)1

        55.      Paragraphs 1 through 54 are realleged as if set forth in full herein.

        56.      The Nation’s Class II gaming activities at Lakeside Enterprises are legal

under IGRA. In particular, the gaming takes place on Indian lands within the Nation’s

jurisdiction; it is the type of gaming permitted in at least some circumstances by New

York State; and it is conducted pursuant to the Nation’s Class II gaming ordinance, which

has been approved by the Chairman of the NIGC.

        57.      Accordingly, IGRA preempts the application of State and local laws that

prohibit the Nation, its officers, its employees, or its other representatives from

conducting Class II gaming at Lakeside Entertainment, including but not limited to the

1958 Village of Union Springs Anti-Gambling Ordinance; and including but not limited

to the zoning and land use law of the Village of Union Springs insofar as it incorporates

the 1958 Anti-Gambling Ordinance.

        58.      The civil proceedings threatened by the Village of Union Springs to enjoin

gaming activities authorized by federal law, and the prosecution of the Nation and its

employees for gaming activities authorized by federal law, would cause irreparable injury

to Plaintiffs.



1
  For each count in this Complaint, all plaintiffs seek relief directly under the Supremacy
Clause of the United States Constitution and the Declaratory Judgment Act, 28 U.S.C.
§§ 2201-2202 and Ex Parte Young, 209 U.S. 123 (1908), while the John Doe plaintiffs
also seek relief under 42 U.S.C. § 1983.
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       59.      Plaintiffs are therefore entitled to declaratory relief declaring the lawful

right of the Nation, its officers, and its employees to conduct Class II gaming at Lakeside

Enterprises.

       60.      Plaintiffs are also entitled to preliminary and permanent injunctive relief

preventing Defendants from taking any steps to apply state and local gambling laws

(including but not limited to the 1958 Games of Chance Ordinance) with respect to the

Nation’s Class II gaming activities at Lakeside Enterprises and ordering that the 1958

Games of Chance Ordinance cannot serve as a lawful basis for denying the Nation a

certificate of occupancy.

                               COUNT TWO
               (ILLEGAL PROSECUTION PREEMPTED UNDER IGRA)

       61.      Paragraphs 1 through 60 are realleged as if set forth in full herein.

       62.      Defendant Tanner’s threatened criminal proceedings with respect to

Lakeside Entertainment are illegal under IGRA regardless of whether the Nation’s

activities are authorized by IGRA. Under 18 U.S.C. § 1166(d), the United States has

“exclusive jurisdiction” to prosecute violations of state laws pertaining to the licensing,

regulation, or prohibition of gambling, if those violations occur in Indian country.

       63.      These threatened prosecutions would allege violations of state gambling

laws that pertain to the licensing, regulation, or prohibition of gambling, and would seek

to punish conduct that occurred at Lakeside Entertainment, which sits within the Nation’s

federally recognized reservation, and thus is within “Indian country” as that term is

defined by federal statute, see 18 U.S.C. § 1151(a).

       64.      As a result, any prosecution by state or local officials of the Nation, its

officers, its employees, or its other representatives for gaming activities at Lakeside
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Entertainment is prohibited by the express terms of IGRA and by clearly established

federal case law applying IGRA. See United States v. Cook, 922 F.2d 1026, 1033–34 (2d

Cir. 1991).

          65.    A criminal proceeding against Plaintiffs that is expressly prohibited by

federal law would cause Plaintiffs irreparable injury.

          66.    Plaintiffs are therefore entitled to declaratory and preliminary and

permanent injunctive relief to protect the Nation and its officers, its employees, and its

other representatives from illegal prosecution.

                                 COUNT THREE
                        (SOVEREIGN IMMUNITY FROM SUIT)

          67.    Paragraphs 1 through 66 are realleged as if set forth in full herein.

          68.    The Nation is a federally recognized Indian tribe and therefore possesses

sovereign immunity from suit.

          69.    Any court proceedings to punish or restrict gaming at Lakeside

Entertainment (including but not limited to proceedings to enforce the Orders to Remedy

Violations) would violate the Nation’s sovereign immunity.

          70.    For that reason, such proceedings would exceed the jurisdiction of state

courts.

          71.    Plaintiffs therefore are entitled to declaratory and injunctive relief barring

defendants from commencing or pursuing such proceedings.

                                  PRAYER FOR RELIEF

          WHEREFORE, plaintiffs respectfully request that this Court issue an order:

          (A)    Declaring that the Village of Union Springs’ 1958 Games of Chance

Ordinance and all other state and local laws prohibiting gambling are preempted by
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federal law as applied to the Nation’s Class II gaming activities at Lakeside

Entertainment; declaring that the 1958 Games of Chance Ordinance cannot lawfully

serve as a basis for denying the Nation a certificate of occupancy; declaring that federal

law prohibits Defendants from taking any steps to restrict, interfere with, punish,

prosecute, or otherwise penalize actions taken by the Nation, its officers, its employees,

or its other representatives in furtherance of Class II gaming activities at Lakeside

Enterprises; and declaring that the Nation enjoys immunity to any suit to enforce the

Ordinance.

       (B)    Enjoining Defendants from taking any steps to restrict, interfere with,

punish, prosecute, or otherwise penalize actions taken by the Nation, its officers, its

employees, or its other representatives in furtherance of Class II gaming activities at

Lakeside Enterprises, including but not limited to the enforcement of the 1958 Union

Springs Games of Chance Ordinance or other local and state laws concerning gambling,

whether independently through a civil or criminal action, or through civil or criminal

enforcement of the Village of Union Spring’s zoning law; or through a civil or criminal

action to enforce the Order to Remedy Violations dated July 9, 2013 or the Orders to

Remedy Violations dated December 20, 2013.

       (C)    Awarding attorney’s fees to the John Doe Plaintiffs pursuant to 42 U.S.C.

§ 1988;

       (D)    Awarding costs to Plaintiffs; and

       (E)     Granting such other relief as this Court deems just and proper.
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Respectfully submitted,

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DATED: October 28, 2014
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                     Exhibit E
Union Springs attorney: Village aims to shut down Cayugas' gaming hall, seize machines Page 1 of 3
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  Union Springs attorney: Village aims to shut down
  Cayugas' gaming hall, seize machines
  DECEMBER 20, 2013 3:06 PM • ROBERT HARDING | ROBERT.HARDING@LEE.NET

  One day after the Cayuga Indian Nation reopened its gaming facility in Union
  Springs, an attorney for the village said they will take action despite claims from the tribe
  that they are complying with local laws.

  Attorney Chad Hayden said the village hasn't conducted a codes inspection of the facility,
  but the Cayugas opened LakeSide Entertainment without a certificate of occupancy or a
  certificate of zoning compliance.

  Hayden said if the Cayugas fail to comply with local and state laws, they will move to
  shut down the gaming hall and seize more than 80 electronic bingo machines.

  "Initially, we'll send them a notice of violation," Hayden said. "That will give them a
  reasonable time to comply and then we'll proceed to court."

  When asked Thursday if the Cayugas were abiding by all of the necessary laws and
  ordinances to reopen LakeSide Entertainment, a spokesman for the tribe said the facility
  "is in full compliance with all applicable local zoning laws."

  But Hayden said the Cayugas, among other things, have failed to abide by the village's
  bingo ordinance. The bingo ordinance requires any entity running bingo games to obtain
  a license from the village.

  The Cayugas first opened LakeSide Entertainment in 2004 after several legal challenges
  and stop-work orders.

  One year later, a judge lifted an injunction that allowed the tribe to open the gaming hall
  without local regulation. As a result of the judge's action, the tribe decided to close
  LakeSide.

  LakeSide remained closed until July of this year, when the Cayugas temporarily
  reopened the facility. The tribe closed the facility again before reopening it Thursday.

  UPDATE: A spokesman for the Cayuga Nation said the tribe's architect filed for a
  certificate of occupancy and submitted zoning compliance paperwork with the village. He
  added that the village is free to inspect the facility, which they are anticipating.




http://m.auburnpub.com/news/local/union-springs-attorney-village-aims-to-shut-down-ca... 12/24/2013
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